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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                   Hon. Joseph A. Dickson, U.S.M.J.

      v.                                   Mag. No. 14-6722

TONY MARCO                                 ORDER FOR A CONTINUANCE

      This matter having come before the Court on the joint application of Pat

J. Fishman, United States Attorney for the District of New Jersey (by Sara F.

Merin, Assistant United States Attorney), and Defendant Tony Marco (by

Patrick N. McMahon, Esq., appearing), for an order granting a continuance of

the proceedings in the above-captioned matter; and Defendant being aware

that he has the right to have the matter submitted to a grand jury within 30

days of the date of his arrest pursuant to Title 18 of the United States Code,

Section 3161(b); and Defendant, through his attorney, having consented to th1

continuance; and two prior continuances having been granted; and for good

and sufficient cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:

      (1)   Plea negotiations are currently in progress, and both the United

States and Defendant desire additional time to complete the negotiations,

which would render any grand jury proceedings and any subsequent trial of

this matter unnecessary;

      (2)   Defendant has consented to the aforementioned continuance; anc
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      (3)   Pursuant to Title 18 of the United States Code, Section 3161(h)(7)

the ends of justice served by granting the continuaµce outweigh the best

interests of the public and the def~ant in a speedy trial.

      WHEREFORE, it is on thi~ -ilay'of December, 2014;

      ORDERED that this action be, and it hereby is, continued from the date

this Order is signed through and including February 15, 2015; and it is furth

      ORDERED that the period from the date this Order is signed through

and including February 15, 2015 shall be excludable in computing time unde

the Speedy Trial Act of 197 4.




                                     HONO~KSON
                                     United States Magistrate Judge


Form and entry consented to:



Patrick N. McMahon, Esq.
Counsel for D fendant Tony Marco




Ronnell Wilson
Assistant United States Attorney
Chief, Narcotics/ OCDETF



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